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12   Q CYBER TECHNOLOGIES LIMITED
13
     Counsel for Plaintiff listed on signature page
14

15                                UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17                                    SAN FRANCISCO DIVISION

18
     APPLE INC.,                                      Case No. 3:21-cv-09078-JD
19
                    Plaintiff,                        JOINT STATEMENT REGARDING
20                                                    DEFENDANTS’ PENDING PETITION
            v.                                        FOR A WRIT OF CERTIORARI IN NSO
21                                                    GROUP TECHNOLOGIES LIMITED V.
     NSO GROUP TECHNOLOGIES LIMITED,                  WHATSAPP INC.
22   and Q CYBER TECHNOLOGIES LIMITED,
23                  Defendants.
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28   JOINT STATEMENT REGARDING DEFENDANTS’                                Case No. 3:21-cv-09078-JD
     PENDING PETITION FOR A WRIT OF CERTIORARI
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 1            Pursuant to the Court’s Order, Dkt. No. 34, Plaintiff Apple Inc. and Defendants NSO Group

 2   Technologies Limited and Q Cyber Technologies Limited (collectively “Defendants”) respectfully

 3   submit this Joint Statement Regarding Defendants’ Pending Petition for a Writ of Certiorari in

 4   NSO Group Technologies Limited v. WhatsApp Inc., No. 21-1338 (U.S.).

 5            On April 12, 2022, following the initial case management conference and the parties’

 6   agreement to a stay of discovery, the Court stayed this case due to Defendants’ pending petition for

 7   a writ of certiorari in the WhatsApp litigation. Dkt. Nos. 32-34. On June 6, 2022, the Supreme Court

 8   issued an order inviting the Solicitor General to file a brief expressing the views of the United States

 9   government on Defendants’ petition. See Orders List, 596 U.S. --- (June 6, 2022). 1 While there is

10   no deadline for the Solicitor General to file its brief, history suggests that it will do so in order to

11   allow the Supreme Court to resolve Defendants’ petition during the next Supreme Court Term. See

12   Patricia A. Millett, “We’re Your Government and We’re Here to Help”: Obtaining Amicus Support

13   from the Federal Government in Supreme Court Cases, 10 J. App. Prac. & Proc. 209, 215 & n.17

14   (2009). The WhatsApp litigation will remain stayed during the pendency of Defendants’ petition,

15   because the Ninth Circuit granted Defendants’ motion to stay its mandate to allow the Supreme Court

16   to decide whether to issue a writ of certiorari. See Dkt. No. 33.

17            Given these developments, Defendants respectfully request that the Court continue the stay

18   of this action until the Supreme Court decides the petition for a writ of certiorari in the WhatsApp

19   litigation. Apple does not oppose Defendants’ request, in light of the Court’s views on the matter

20   expressed during the March 17, 2022 case management conference, but is ready and willing to

21   proceed sooner should the Court determine that further delay is unnecessary. The parties propose

22   that they will, in a joint statement, promptly advise the Court of any subsequent developments on

23   Defendants’ pending petition for a writ of certiorari.

24            Defendants also respectfully request that the Court continue the hearing on Defendants’

25   motion to dismiss to a date in December 2022 or a later date that is convenient for the Court.

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27       Available at https://www.supremecourt.gov/orders/courtorders/060622zor_5i26.pdf.
     JOINT STATEMENT REGARDING DEFENDANTS’                                         Case No. 3:21-cv-09078-JD
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 1   Continuing the hearing to December 2022 or later will more likely ensure that it occurs after the

 2   Supreme Court has decided whether to issue a writ of certiorari. See Millett at 215 & n.17

 3   (explaining that the Solicitor General “strives to file pending CVSGs in time to meet the [Supreme]

 4   Court’s traditional cut-off dates for action each Term” and that certiorari briefing must be complete

 5   in December “for the case to be considered on the last conference in January granting cases to be
                                                                                         2
 6   argued in April (and thus to be decided before the Court’s summer recess)”). Apple does not

 7   oppose continuing the hearing date for the motion to dismiss, but submits that there is no reason

 8   to delay the motion to dismiss hearing to December in light of the fact that the Court should act on

 9   the pending cert petition by mid-October (the next term begins on October 3, 2022). See Millett

10   at 215 (“As a matter of practice, briefs responding to CVSGs issued in the Fall are generally filed

11   by the December cutoff date, while . . . CVSGs issued late in the Spring or early in the Summer

12   are commonly filed in time to permit the Court’s action when the Term commences in October.”).

13   Accordingly, Apple requests that the motion to dismiss hearing be set for November 3, 2022, or

14   the earliest date thereafter that is convenient for the Court. The motion to dismiss currently is set

15   to be heard on August 11, 2022, having been continued from June 2, 2022. See Dkt. 38. Defendants

16   submit that, given the overlapping issues, it would be inefficient for the Court to hear Defendants’

17   motion to dismiss before the Supreme Court decides whether to grant certiorari in the WhatsApp

18   litigation. Apple does not oppose this request, again in light of the Court’s views on the matter

19   expressed during the March 17 case management conference, but is prepared to proceed sooner.

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24     See also University of Texas at Austin School of Law – Tarlton Law Library, “U.S. Supreme
     Court,” available at https://tarlton.law.utexas.edu/c.php?g=457722&p=3128850 (Apr. 27, 2022)
25   (“There is no specific deadline for the Solicitor General to file briefs when invited to do so by the
     Court, but the Solicitor General tends to file invitation briefs (in cases in which the Court has asked
26
     the federal government to weigh in) in batches in late November/early December and then again
27   in late spring.”).
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 1   Dated: June 16, 2022            WILMER CUTLER PICKERING HALE AND DORR LLP

 2                                   By: /s/ David W. Bowker
                                     DAVID W. BOWKER
 3

 4                                   Attorneys for Plaintiff
                                     APPLE INC.
 5

 6

 7   Dated: June 16, 2022            KING & SPALDING LLP

 8                                   By: /s/ Joseph N. Akrotirianakis
                                     JOSEPH N. AKROTIRIANAKIS
 9
                                     Attorneys for Defendants
10                                   NSO GROUP TECHS. LTD. and Q CYBER TECHS. LTD.
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     JOINT STATEMENT REGARDING DEFENDANTS’                              Case No. 3:21-cv-09078-JD
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 1                                     SIGNATURE ATTESTATION

 2             I am the ECF User whose identification and password are being used to file the foregoing.

 3   Pursuant to Civil Local Rule 5-1(i), I hereby attest that the other signatories have concurred in this

 4   filing.

 5

 6    Dated: June 16, 2022                                 By:   /s/ Joseph N. Akrotirianakis

 7                                                               Joseph N. Akrotirianakis

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     JOINT STATEMENT REGARDING DEFENDANTS’                                        Case No. 3:21-cv-09078-JD
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